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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
OCALA DIVISION

LINDA SIEMER

Plaintiff,
Vv. Case No.: 5:15-cv-00479-PGB-PRL
DISABILITY RIGHTS FLORIDA, INC.

Defendant.
/

JOINT MOTION TO APPROVE SETTLEMENT AGREEMENT AND TO DISMISS
ACTION WITH PREJUDICE

Plaintiff, LINDA SIEMER, and Defendant, DISABILITY RIGHTS FLORIDA, INC.
(collectively “the Parties”), by and through their undersigned attorneys, hereby file this Joint
Motion to Approve Settlement Agreement and to Dismiss Action with Prejudice and, in support
of the Joint Motion, state:

The Parties have reached a settlement in this case. In support of the settlement, the Parties
attach hereto as Exhibit “A” the Settlement, Waiver and Release By Linda Siemer (“Settlement
Agreement”) executed by the Parties. !

I, PROCEDURAL HISTORY

Plaintiff filed her Complaint in this case for unpaid overtime on our about September 17,
2015. (Doc. 1) Defendant filed an Answer to Plaintiff's Complaint on November 13, 2015. (Doc,

18) The parties proceeded through the initial discovery pursuant to the Court’s November 19,

 

I The attached Exhibit A is titled “Confidential Settlement Waiver and Release By Linda Siemer,” but following the
Court’s April 5, 2016, Order (Doc. 16), the parties have stipulated to file the Settlement Agreement with the Court
without a request to submit same under seal and permit the Court to strike the confidentiality requirements, as

necessary.
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2015, Scheduling Order. (Doc. 12) The parties also participated in the required in-person
negotiation pursuant to the Scheduling Order. Through the negotiations, the parties were able to
teach a tentative resolution of Plaintiffs claims and now seek approval of that settlement and
dismissal of this action.

Il, LIABILITY DISPUTE

This action was brought under the Fair Labor Standards Act (“FLSA”) to recover from
Defendant overtime compensation, liquidated damages, and reasonable attorneys’ fees and costs.
The Complaint also includes a claim for unpaid wages pursuant to Florida Statutes. Plaintiff
alleges she was subject to the FLSA and worked in excess of 40 hours per week. The parties
exchanged documentation and Defendant does not dispute that, on occasion, Plaintiff did work in
excess of 40 hours per week. However, Defendant disputes that Plaintiff is subject to the
provisions of the FLSA and, therefore, is not entitled to damages under either the FLSA or
Florida Statutes. Defendant asserts that Plaintiff did not perform work that amounted to interstate
commerce and that Plaintiff also fit within an exemption to the FLSA.

HE. SETTLEMENT OF FLSA CLAIMS

Pursuant to the case law regarding settlement of claims arising under the Fair Labor
Standards Act of 1938, 29 U.S.C. § 201, et. seq. (“FLSA”), there are two ways in which
compromised claims under the FLSA can be settled and released by employees. First, § 216(c) of
the FLSA allows employees to settle and waive their claims under the FLSA if the payment of
unpaid wages by the employer to the employee is supervised by the Secretary of Labor. See 29
U.S.C. § 216(c); Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350, 1353 (11th Cir.

1982). Second, in the context of a private lawsuit brought by an employee against an employer
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under § 216(b) of the FLSA, or a collective action by multiple employees to recover against an
employer as outlined in § 216(b) of the FLSA, employees may settle and release FLSA claims
against an employer if the parties present the district court with a proposed settlement and the
district court enters a stipulated judgment approving the fairness of the settlement. Id; see also

Sculte, Inc. v. Gandi, 328 U.S. 108, 66 S. Ct. 925, 928 n.8, 90 L.Ed. 1114 (1946); Jarrad vy.

 

Southeastern Shipbuilding Corp., 163 F.2d 960, 961 (5th Cir. 1947). In detailing the
circumstances justifying court approval of an FLSA settlement in the litigation context, the

Eleventh Circuit has stated as follows:

Settlements may be permissible in the context of a suit brought by employees
under the FLSA for back wages because initiation of the action by the employees
provides some assurance of an adversarial context. The employees are likely to be
represented by an attorney who can protect their rights under the statute. Thus,
when the parties submit a settlement to the court for approval, the settlement is
more likely to reflect a reasonable compromise of disputed issues than a mere
waiver of statutory rights brought by an employer’s overreaching. If a settlement
in an employee FLSA suit does reflect a reasonable compromise over issues, such -
as FLSA coverage or computation of back wages that are actually in dispute, we
allow the district court to approve the settlement in order to promote the policy of
encouraging settlement of litigation.

Lynn’s Food Stores, 679 F.2d at 1354.
iV. THE DISPUTED ISSUES IN THE ADVERSARIAL ACTION AT HAND

In accordance with the legal principles outlined above, the Parties respectfully request
that the Court approve the Parties’ negotiated settlement of Plaintiff's wage ctaims. The Parties
agree that the instant adversarial action involves disputed factual and legal issues, including: (i)
whether Plaintiff was subject to the FLSA as any employee performing work that involves
interstate commerce; (ii) whether any exemption to the FLSA applied to Plaintiff, (iii) the

number of overtime hours worked by Plaintiff during each workweek, if any; (iv) whether
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Plaintiff is entitled to recover liquidated damages; and (v) whether a 2-year or 3-year statute of
limitations applies to Plaintiff's overtime claims.

Defendant, at all times, denied that Plaintiff was not properly compensated for overtime
hours worked. In addition, even if Defendant had been found liable, it asserted good faith and
reasonable grounds for any wage violations which could have precluded Plaintiff from
recovering liquidated damages (i.c., double damages) under the FLSA (see 29 U.S.C, § 260),
Finally, Defendant contends that even if it had been found liable, any violation was not willful
and thus the two year statue of limitations would apply pursuant to 28 U.S.C. § 255(a) (2010),

After initial required discovery, the parties agreed to meet to conduct further negotiations
in the hopes of resolving the matter in the early stages of the litigation. The parties reached a
settlement at the negotiation conference conducted January 19, 2016. The Parties agree that the
terms of settlement reached reflect a reasonable “give-and-take” on the major issues in dispute.
Specifically, Defendant’s agreement to make any payment to Plaintiff reflects a significant
concession (for purposes of settlement only). In return for that concession, the parties then
reached a reasonable compromise with respect to the number of overtime hours worked each
week by Plaintiff, ultimately agreeing to compensate Plaintiff for a reasonable estimation of
overtime hours worked for each week wherein overtime hours could have been worked. Plaintiff
will not receive compensation under the agreement for workweeks during which she could not
have worked overtime hours, such as workweeks during which she was absent due to illness,
personal reasons, vacation, or holiday, because in such weeks, Plaintiff could not have worked
overtime hours, even taking into consideration additional hours worked.

The parties reviewed and assessed the potential risks of litigation with their respective
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counsel. The Parties agree that the negotiated terms of settlement, as stated in the Settlement
Agreement and summarized below, reflect a reasonable compromise of all disputed issues, and
that the negotiated settlement is in the parties’ best interest.

Ultimately, the parties agreed that Defendant will pay a compromise amount to resolve
Plaintiff's claims for alleged overtime wages due to her, In addition, Defendant will also pay an
amount equal to the wage payment that will represent Liquidated Damages. Defendant will pay
this figure despite the fact that they dispute owing any Liquidated Damages in this case. Finally,
Defendant will pay Plaintiff a nominal settlement amount to obtain a general release from
Plaintiff for any and all other claims or potential claims Plaintiff may have against Defendant.
Defendant will pay those amounts despite the fact that it disputes owing any non-overtime wages
in this case, Considering the above, the parties have reached a fair and reasonable agreement.

V. MONETARY TERMS OF SETTLEMENT

Pursuant to the Settlement Agreement, Defendant will pay the following

1. $10,500.00 to resolve Plaintiff's claim for overtime wages;

2. $10,500.00 to resolve Plaintiff's claim for liquidated damages:

3. $ 2,000.00 to secure a general release of all other claims from Plaintiff’; and
4.$ 4,500.00 for attorneys’ fees, administrative and taxable costs.

Plaintiff's counsel will receive the above amount representing attomeys’ fees,
administrative costs and taxable costs. In this case, Plaintiffs counsel filed a Complaint,

responded to the Court’s required discovery, reviewed the records provided by Defendant and

 

2 The parties stipulate to combine the amounts of the consideration for the general release and confidentiality into a
single amount of consideration for the general release, based on the Court’s position as to confidentiality of the

Settlement Agreement.
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appeared at the negotiation conference between the parties, including travel to Defendant’s office
in Gainesville for same, The total amount of fees and costs shall also include all costs of
administration of the settlement (which shall be the responsibility of Plaintiffs Counsel).

Throughout the settlement negotiations Plaintiff's counsel negotiated attorney’s fees and
costs separate from the fund so as to avoid any compromise to Plaintiff's recovery and pursuant
to Bonetti_v. Embarq Management Co., 2007 WL 2371407, Case No.: 6:07-cv-01335-ORL-31-
GKJ, Doc. 53 (M.D. Fla. August 4, 2009); See also King v. My Online Neighborhood. Inc., 2007
WL 737575, at *4 (M.D.Fla. Mar.7, 2007); MeGinnis v. Taylor Morrison, Inc., 3:09-CV-01204-
J-32MCR (M.D.Fla. Jan. 23, 2010). Jacobs, et al. v. Orts Services, Inc., 2010 WL 497382
(M.D.Fla. February 8, 2010); Whitson v. Chicks Ahoy, Inc., 2010 WL 497640 (M.D.Fla.
February 8, 2010. In accordance with Bonetti, Plaintiff's recovery has been negotiated and
settled independent of the Plaintiffs claims so that the attorney’s fees and costs do not
compromise Plaintiffs’ recovery.

VI. TIMING OF PAYMENT

1, Payments to Plaintiff shall be provided to Plaintiff's counsel within twenty (20) days
of the Court’s Order approving the settlement.

2, Payment to Plaintiffs counsel, Bowen & Schroth, P.A., for attorney fees, costs and
class administrative costs in the amount of $4,500.00 shall be provided to Plaintiffs counsel
within twenty (20) days of the Court’s Order approving the settlement.

VI. CONCLUSION
The settlement in the instant matter is fair and was structured in a similar manner as many

FLSA settlements previously approved in this circuit. The parties jointly and respectfully request
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that this Court approve the settlement agreement between the Parties, The parties agree that this

is a fair settlement and that it is in both of their best interests to resolve this matter, pay the

settled claims, and dismiss this matter.

DATED this 19th day of April, 2016.

Respectfully submitted,
Counsel for Plaintiff

s/Derek A. Schroth

Derek A. Schroth

Florida Bar No, 0352070
Bowen & Schroth, P.A.

600 Jennings Avenue

Eustis, FL 32726

(352) 589-1414
dschroth@bowenschroth.com

Counsel for Defendant

s/Jason C, Taylor

Jason C. Taylor

Fiorida Bar No. 497525
McConnaughhay, Coonrod, Pope,
Weaver, Stern & Thomas, P.A.
1709 Hermitage Blvd., Suite 200
Tallahassee, FL 32308

(850) 222-8121
jtaylor@mconnaughhay.com

CERTIFICATE OF SERVICE

THEREBY CERTIFY that a true and correct copy of the foregoing has been furnished by

CM/ECF service this 19th day of April, to Derek A. Schroth, Bowen & Schroth, P.A.,

dschroth@bowenschroth.com, 600 Jennings Avenue, Eustis, FL 32726.

s/ Jason C. Taylor
Jason C. Taylor

Florida Bar No. 0497525

Email: jtaylor@mcconnaughhay,com
1709 Hermitage Blvd., Suite200
Tallahassee, FL 32308

Phone: (850) 222-8121

Fax: (850) 222-4359

Attorneys for Defendant
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CONFIDENTIAL SETTLEMENT, WAIVER, AND RELEASE
BY LINDA SDEMER

This Confidential Settlement, Waiver, and Release (“Release”) is made by LINDA
SIEMER (“Siemer”) in exchange for the settlement provisions described below to be provided
by or on behalf of DISABILITY RIGHTS FLORIDA, INC., (referred to as “Employer’”). Siemer
and Employer are collectively referred to herein this Confidential Settlement, Waiver, and

Release as the “Parties.”

Siemer filed an action against Employer which is now or was pending before United
States District Court for the Middle District of Florida, Case No. 5:15-cv-479-Oc-PGBPRL,
Employer denies the material allegations of each case and claim and otherwise denies liability of
any kind or nature to Siemer, In compromise of the dispute which exists between Siemer and

Employer, and:

(1) to conclude all legal proceedings (including the case before the United States
District Court for the Middle District of Florida, Case No. 5:15-cv-479-Oc-PGBPRL) which
have been and/or might have been-brought by Siemer against Employer through the date of this

Release:

(2) to end unconditionally and for all time any remaining differences presently
between Siemer and Employer; and

(3) in lieu of any further legal proceedings by Siemer against Employer as to any
matters arising, directly or indirectly, out of the compensation issues arising out of Siemer’s
employment with or separation from Employer, through the date of this Release;

The Parties agree to the following Confidential Settlement, Waiver, and Release.
TERMS OF SETTLEMENT

1. Recitals, The foregoing Recitals and all text preceding the “Terms of Settlement”
portion of this Release are true, correct, are incorporated herein by this specific reference and
form an integral part of this Release.

2. Settlement Summary.

a. Siemer shall deliver to Employer’s counsel an executed original of this
Release, then, provided that Siemer has provided and Employer has received executed W9
statements for Siemer and Siemer’s counsel, in consideration of the matters set forth herein and
no later than ten (10) days following Court approval of the parties’ settlement, Employer shall
pay to Siemer the total sum of Twenty Seven Thousand Five Hundred and no/100 Dollars
($27,500.00), hereinafter the “Settlement Sum,” Of the settlement sum, the parties attribute the
following amounts to the categories set out below:

A

 
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(1) $1,000.00 to represent consideration for the confidentiality of this release based on
the terms set out below in Paragraph No. 6;

(2) $1,000.00 to represent consideration for the general release provisions based on the
terms set out below in Paragraph No, 3;

(3) $21,000.00 as payment to Siemer to resolve all claims related the alleged violations
of the Fair Labor Standards Act, of which $10,500.00 shall be allocated to resolve the
claim for wages due and reported on a form W-2, and $10,500.00 shall be allocated to
resolve the claim for liquidated damages to be reported on a form 1099; and

(4) $4,500.00 for payment of attorneys’ fees, costs and expenses, payable to Bowen &
Schroth, P.A., to be reported on a 1099 to him or his firm,

b. Siemer agrees that Employer or any affiliate by ownership interest or
corporate subdivision is not under any obligation to rehire her at any time.

c. In response to any inquiry or reference request, Employer will provide
information consisting only of Siemer’s position, dates of employment and most recent rate of

pay.

d. Siemer and Employer will each bear their own attorney’s fees and costs
except as set out above.

1. General Release of Ciaims,

a. Siemer stipulates to the unconditional dismissal, in its entirety, of the case
before the United States District Court for the Middle District of Florida, Case No. 5:15-cv-479-

Oc-PGBPRL.

b, Siemer accepts the Settlement Terms, stated above in paragraph 2(a) and
2(a)(2), as full consideration for any claim of damages, including any liquidated damages and
attorey fees; and she is not seeking equitable relief, including reinstatement.

G. The parties hereby knowingly and voluntarily release and forever
discharge each other, their, predecessors, successors, assigns, subsidiaries, affiliates, and
insurers, and their past, present, and future directors, officers, shareholders, members,
employees, agents, insurers, and attorneys, both individually and in their capacities as board
members, directors, officers, shareholders, members, employees, agents, insurers, and
attorneysof and from any and all claims, whether known, unknown, anticipated, unanticipated,
disclosed or undisclosed, against each other which they have or might have as of the date of
execution of this Release, including, but not limited to, any claims arising out of or in any way
connected with Siemer’s employment with or separation from Employer.
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2. Affirmations. Siemer affirms that she has not divested herself of or assigned any
portion of any cause of action she may have against Employer te any other person or entity.
Further, Siemer has not filed, caused to be filed, or presently is a party to any claim, complaint,
or action against Employer in any forum or form, except the present action before United States
District Court for the Middle District of Florida, Case No. 5:15-cv-479-Oc-PGBPRL, Siemer
further affirms that she has received all stipends, reimbursements, compensation, wages,
bonuses, commissions, and/or benefits to which she may be entitled and that no other stipends,
reimbursements, compensation, wages, bonuses, commissions, and/or benefits are due to her,
except as provided in this Release.

3. No Admission of Liability, Neither this Release nor the furnishing of the
consideration for this Release shall be deemed or construed at any time for any purpose as an
admission by Employer of any liability; unlawful conduct of any kind; or violation by Employer
of the Laws identified in Paragraph 3(c) herein. Siemer acknowledges that there has been no
final finding or judgment of any kind entered against Employer with respect to the facts
underlying this Release. It is further expressly understood that this Release is in full accord and
satisfaction of such disputed claims as are the subject matter hereof,

4, Confidentiality.

a. Should the Court require submission of this Release for approval of the
settlement, Siemer consents to submission of this Release under seal, Otherwise, this Release
shall not be filed with any court. This Release may not be introduced in any proceeding, except
when required to obtain approval hereof, to enforce this Release, or where this Release would be

a defense.

b. Except as required of each party by rule, regulation, government
agency(ies), investigators, law enforcement officer, or subpoena, neither party shall disclose the
existence or substance of this Release. If asked about the disposition of Siemer’s claims, the
parties will state only that “, , . this matter has been resolved to the satisfaction of all parties
concerned.” The above limitation does not include Siemer’s disclosure of such information to
any attorneys, accountants, and professional tax advisers with whom she chooses to consult or
seek advice regarding her consideration of and decision to execute this Release. Violation of this
confidentiality provision shall result in the Employer being able to pursue all appropriate legal
remedies against Siemer, including pursuit of liquidated damages, and shall result in the
complete disgorgement of any settlement amount Siemer receives pursuant as consideration for
the confidentiality of this settlement as set out in Paragraph 2(a)(1) above.

c. Neither party shall defame, disparage, or impugn the other or any of their
employees, representatives or agents at any time to any person or entity.

5. Release as a Defense. Siemer agrees that she will not hereafter file or institute any
judicial, quasi-judicial, non-judicial, and/or administrative proceedings against Employer and
any other Released Parties with respect to the matters resolved or settled herein. Siemer agrees
that this Release shall be a complete and conclusive defense by any of the Parties released in this
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Agreement to any other suits or proceedings which may hereafter be brought by any of the
Parties to this Release which relate directly or indirectly to the allegations which are the subject
of Siemer’s claims, and any amendments thereto, filed in the proceedings before the United
States District Court for the Middle District of Florida, Case No. 5:15-cv-479-Oc-PGBPRL,
which exist, whether known or unknown, as of the date Siemer executes this Release.

6, Counterparts, This Release may be executed in one or more counterparts, each of
which shall be deemed an originai, but all of which together shall constitute one and the same
instrument, provided, however, that in making proof of this Release, it shall not be necessary to
produce or account for more than one such counterpart of this Release.

7. Interpretation. Siemer has, with counsel, participated in the negotiating of all
terms and provisions of this Release, and, accordingly, it is agreed that any uncertainty or
ambiguity shall not be construed for or against any other party based on attribution of drafting to

any party.

8. Entire Release, This Release contains the entire Release and understanding among
the Parties with respect to the subject matter hereof and supersedes all prior and
contemporaneous proposals, discussions, negotiations, Releases and understandings, whether
oral or written, relating to such subject matter. There are no warranties, representations, or other
agreements between the Parties in connection with the subject matter hereof, except as
specifically set forth herein. Siemer has not relied on any representation not set forth in this
Release in executing this Release. No supplement, modification, waiver, or termination of this
Release shall be binding unless contained in a writing that has been executed by the Parties to be

thereby.

9, Authority to Execute, Siemer hereby declares, warrants, and covenants that she is
over eighteen (18) years of age, is suffering from no legal or mental disability which would
impair or disable her from executing this Release, and that, if she is acling in a representative
capacity, she has specific, actual authority to do so. Siemer hereby declares, covenants, and
warrants that there have been no representations, statements, promises, inducements, or releases
made by any of the Parties or their respective agents or attorneys that are not herein expressed, to
influence Siemer into making or executing this Release.

10. Governing Law. This Release shall be deemed to have been entered into in the
State of Florida upon full execution by Siemer. This Release shall be governed and construed
pursuant to the laws of the State of Florida and federal law, where applicable. Jurisdiction and
venue for any action related to interpretation or enforcement of this Release shall be in the
Circuit Court of the Second Judicial Circuit in and for Leon County, Florida.

11. Severability. All rights, powers, and remedies provided in this Release may be
exercised only to the extent that the exercise thereof does not violate any applicable laws, rules
or regulations, and are intended to be limited to the extent (but only to the extent) necessary so
that they will not render this Release invalid or unenforceable. If any term, covenant, condition
or provision of this Release as to any person, entity, or circumstance shall, to any extent, be
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invalid or unenforceable, the remaining terms, covenants, conditions, and provisions of this
Release, with the application of such term, covenant, condition or provision to the persons,
entities, or circumstances other than those as to which it ts held invalid or unenforceable, shall
not be affected thereby, and each term, covenant, condition, and provision of this Release shall
be modified and/or limited to the extent necessary to render the same valid and enforceable to the
fullest extent permitted by law, while still accomplishing the intent of the Parties to this Release.

12, Attorneys! Fee. In any action or proceeding to enforce the terms of this Release,
including any appeal, the prevailing party shall be entitled to recover its/his/her reasonable

attorneys’ fee and costs.

13. Modification. This Release may only be modified in a similar writing with such
writing signed by all Parties.

14, No Assignments. Siemer represents and warrants to the other Parties that she has
not assigned or in any way transferred or conveyed all or any portion of the claims covered by
the this Release. Siemer acknowledges and agrees that this warranty and representation is an
essential and material term of this Release, without which she would not have entered into it.

15. Evidence. Neither this Release, nor any statements, negotiations, transactions, or
proceedings (including any motions, requests, or responses) relating to this Release shall be
construed as, deemed to be, or offered in any action or proceeding as evidence of any admission
or concession by any Party of (1) any liability or wrongdoing, (ii) any damage or loss incurred by
the other, or (iii) the merits or lack of merits of any claims by either party concluded or settled by

this Release.

16. Captions. Captions and paragraph headings used herein are for convenience only,
are not a part hereof, and shall not be deemed to limit or alter any provisions hereof or to be

relevant in construing this Release.

17. Variation of Pronouns, Plurals, Etc, All pronouns and any variations thereof shall
be deemed to refer to masculine, feminine, or gender neutral singular or plural as the identity of

the person or persons may require.

18. Undersigned Has Read and Understands Release. The undersigned parties further

represent that they have read and understand this Release and have had the opportunity to review
this Release with their respective counsel. The parties understand, acknowledge, and agree that
this Release is entered into knowingly and voluntarily with the advice of competent counsel and
in no way was either party coerced by anyone in any way and that the signatures below bind each
party to the terms hereof.

19. Court Approval of Settlement Agreement. The parties understand and agree that

this settlement agreement may require Court approval. In the event the Court fails to approve the
general release sections of Paragraph No. 3 or the confidentiality provisions of Paragraph No. 6,
the remaining provisions shall remain in full force and effect.
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BY EXECUTING THIS AGREEMENT BELOW, SIEMER ACKNOWLEDGES THAT
SHE HAS THE RIGHT TO, AND HAS BEEN AFFORDED, 21 DAYS TO CONSIDER
HER WAIVER AND RELEASE OF ADEA AND OWBPA CLAIMS UNDER THIS
RELEASE, BY EXECUTING THIS AGREEMENT BELOW, SIEMER FURTHER
ACKNOWLEDGES THAT SHE MAY REVOKE THIS AGREEMENT WITHIN 7 DAYS
OF EXECUTION OF THIS AGREEMENT WITH REGARD TO CLAIMS ARISING

UNDER THE ADEA AND OWBPA ONLY.

IN WITNESS WHEREOF, the undersigned hereto agrees to and voluntarily
acknowledges and executes this Release and as of the last date executed as set forth by her hands

and seals below:
4 a
wt wo A ie ” sem fe meet ge mat eens

Linda Siemer

STATE OF FLORIDA
COUNTY OF LAK

BEFORE ME, the undersigned authority, personally appeared Linda Siemer, who
executed the foregoing instrument, and acknowledged before me that the information contained

herein is true and correct to the best of her knowledge.

   

 

- a
WITNESS my hand and official seal t BY day of M AR« ly 2016.

  
 
    

 

NOTARY PUBLIC

 

With Oath

__K_ Without Oath

_&_ Personally Known
Produced Identification

Type of Identification Produced:

 
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IN WITNESS WHEREOF, the undersigned hereto agrees to and voluntarily

acknowledges and executes this Release and as of the last date executed as set forth by his hands
and seals below:

 

 

 

Seka . 4 a
Sa See
Anthony DePalma

Vice President
Disability Rights Florida, Inc.

STATE OF FLORIDA
COUNTY OF LEON

BEFORE ME, the undersigned authority, personally appeared Anthony Palma, who
executed the foregoing instrument, and acknowledged before me that the information contained

herein is true and correct to the best of his knowledge.

 

 

WITNESS my hand and official seal this Yl tay of arte, 2016,
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x i,
e Sari oh won ty Aitetens /adkae th. arg rt
So NS oh eis NOTARY PUBLIC
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in Type of Identification Produced:

 
